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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

  In re:
  CRYSTAL CLEAR SEWER & DRAIN, LLC,              Ch. 7
    Debtor                                       21-40194-CJP


                             Proceeding Memorandum and Order

MATTER:
Telephonic Hearing on #57 Objection of the Chapter 7 Trustee, Joseph H. Baldiga, to Claim No. 5 of
Claimant Fredrick Petersen and #62 Response of Mary E. Peterson.

Decision set forth more fully as follows:
WITHIN THE NEXT 30 DAYS, MS. PETERSON MAY GO TO THE TRUSTEE'S OFFICE OR ANOTHER
LOCATION THAT THE TRUSTEE IDENTIFIES TO REVIEW ALL THE RECORDS IN HIS POSSESSION
RELATING TO THE DEBTOR.
MS. PETERSON WILL IDENTIFY, IN WHATEVER MANNER IS SUGGESTED BY THE TRUSTEE, ANY
DOCUMENTS SHE WOULD LIKE COPIED. BEFORE THE TRUSTEE PROVIDES COPIES OR ALLOWS
MS. PETERSON TO SCAN ANY DOCUMENTS , MR. DESMOND WILL BE PROVIDED 14 DAYS TO
REVIEW THE IDENTIFIED DOCUMENTS FOR PERSONALLY IDENTIFIABLE INFORMATION OR
OTHER INFORMATION OF CONCERN AND MAKE SPECIFIC OBJECTIONS OR REDACTION
SUGGESTIONS TO THE TRUSTEE. MS. PETERSON SHALL FILE A REQUEST FOR A CONFERENCE IF
SHE IS UNABLE TO AGREE TO THE OBJECTION OR REDACTION AND THE TRUSTEE MAY PROVIDE
COPIES OF OR ACCESS FOR SCANNING TO ANY DOCUMENTS AS TO WHICH THERE IS NO
OBJECTION. ANY PARTY IN INTEREST MAY OBTAIN AT THEIR COST COPIES OF DOCUMENTS
PRODUCED TO MS. PETERSON. IF MS. PETERSON IS PERMITTED TO SCAN DOCUMENTS, SHE
SHALL PROVIDE TO THE TRUSTEE A THUMB DRIVE CONTAINING COPIES OF ALL SCANNED
DOCUMENTS.

Dated: 9/23/2021                                 By the Court,




                                                 Christopher J. Panos
                                                 United States Bankruptcy Judge
